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                  THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA        )
                                )
     v.                         )                      Case No. 1:23-cr-00138-RBW
                                )
WILLIAM PATRICK SARSFIELD, III, )
  Defendant                     )
_____________________________/

  DEFENDANT SARSFIELD’S MOTION TO CONTINUE TRIAL DATE
        AND TO SET CASE FOR STATUS CONFERENCE

      The Defendant, WILLIAM PATRICK SARSFIELD, III, by and through his

undersigned counsel, moves this Honorable Court to enter its order continuing the

trial in the above captioned matter and to set the case for a timely status conference,

and as good cause, therefore, states the following:

      1.      This matter is currently scheduled for jury trial on October 28, 2024.

      2.      Undersigned counsel was recently retained and has entered his

appearance for Defendant SARSFIELD on today’s date.

      3.      A criminal defendant is entitled, under the United States Constitution,

to paid counsel of his choosing, that a violation of this Sixth Amendment right is

“complete” without a showing of prejudice, and that such a violation of this right is

not subject to harmless-error analysis. United States v. Gonzalez-Lopez, 548 U.S.

140 (2006).

      4.      This case is one of more than 1,500 (and growing) January 6
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prosecutions that have inundated this District for more than the last three (3) years.

Counsel is unaware of any harm to the government that would be occasioned by a

brief continuance of trial.

      5.     In addition, a brief continuance of trial would obviate the need for

court-appointed counsel thus it is in the public interest that public funds are no longer

needed for the defendant’s representation.

      6.     A short continuance would allow the attorney to properly prepare the

case and in no way prejudices the government. Undersigned counsel assures the

Court that once a future, mutually agreeable, trial date is set, absent the most

extraordinary circumstances, counsel will be fully prepared for trial on that date.

      7.     Undersigned counsel recommends a trial date be set for a time within

the next 60 to 90 days, a new scheduling order be entered allowing counsel to file

appropriate pre-trial motions, and a Status Conference via videoconference (to

which the Defendant consents) be promptly set to select a firm trial date.

      8.     This motion is being made in good faith and is not interposed for the

purposes of unnecessary delay. The Defendant agrees to the exclusion of time under

the Speedy Trial Act.

      9.      Prior to filing the instant motion, undersigned counsel conferred with

counsel for the government who opposes a continuance and a change of counsel and

will file a written response.
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      WHEREFORE, based upon the foregoing, the Defendant, WILLIAM

SARSFIELD, requests that this Court grant the relief requested herein.

                                      Respectfully submitted,

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                                      By:/s/ George T. Pallas
                                      GEORGE T. PALLAS, ESQ.


                           CERTIFICATE OF SERVICE


I HEREBY CERTIFY that a true and correct copy of the foregoing has been

electronically filed with the Clerk of Court using CM/ECF system which will send

notification of such filing.



                                                   By:/s/_George T. Pallas_____
                                                     GEORGE T. PALLAS, ESQ
